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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   GEORGE JONES,                            Case No.: 2:21-cv-00581-PA-PLA
13               Plaintiff,                   Hon. Percy Anderson
14       v.
15                                            ORDER FOR DISMISSAL WITH
     WESTERN & VENICE SC, LLC, a              PREJUDICE
     California Limited Liability
16   Company, and Does 1-10,
17                                            Action Filed: January 21, 2021
                 Defendants.                  Trial Date: Not on Calendar
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                      [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
     Case 2:21-cv-00581-PA-PLA Document 26 Filed 04/30/21 Page 2 of 2 Page ID #:151



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff George Jones’ action against Defendant Western & Venice SC LLC is
 5   dismissed with prejudice. Each party will be responsible for its own fees and costs.
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     Dated: April 30, 2021
11                                                              Percy Anderson
                                                           United States District Judge
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                       [PROPOSED] ORDER FOR DISMISSAL WITH PREJUDICE
